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7 UNITED STATES DISTRICT COURT
8 CENTRAL DISTRICT OF CALIFORNIA
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10 } PEDRO RODRIGUEZ, NO. EDCV 18-400-JGB (AGR)
11 Plaintiff,
0 y JUDGMENT
13 | NEIL MCDOWELL, et al.,
14 Defendant.
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16 Pursuant to the Order Accepting Findings and Recommendation of United
17 || States Magistrate Judge,
18 IT IS ADJUDGED that Judgment is entered for Defendants and this action is

19 || dismissed. Plaintiff's Eighth Amendment claims against Defendants McDowell,
20 | Moore, Maletz, Newton and Deering based on Plaintiff's spinal condition is dismissed
21 || without prejudice for failure to exhaust administrative remedies. All other claims are

22 || dismissed with prejudice.

   

 

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25 | DATED: _ November 29, 2021 —_
26 United States District Judge

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